UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

 In re:
                                                        Case No. 19-20905
 The Diocese of Rochester,
                                                        Chapter 11
                          Debtor.

 THE CONTINENTAL INSURANCE
 COMPANY, successor by merger to
 Commercial Insurance Company of Newark,
 New Jersey, and Firemen’s Insurance
 Company of Newark, New Jersey,

                          Plaintiff,                    Adversary Proceeding No.: 23-02014

                           v.

 THE DIOCESE OF ROCHESTER,

                          Defendant

                          and

 THE OFFICIAL COMMITTEE OF
 UNSECURED CREDITORS

                          Intervenor-Defendant.

                                       CERTIFICATE OF SERVICE

          I, Janice G. Washington, am over the age of eighteen years, and am employed by Pachulski

Stang Ziehl & Jones LLP. I am not a party to the above case; my business address is 10100 Santa

Monica Blvd., 13th Floor, Los Angeles, CA 90067-4003.

          On April 9, 2024, I caused a true and correct copy of the Answer in Intervention of the Official

Committee of Unsecured Creditors to the Adversary Complaint of The Continental Insurance

Company [Docket No. 32] to be served via first class mail upon the parties set forth on the service

list annexed hereto as Exhibit A.

  Dated: April 9, 2024                                  /s/ Janice G. Washington
                                                        Janice G. Washington
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                           Exhibit A




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OFFICE OF THE UNITED STATES TRUSTEE
FOR THE WESTERN DISTRICT OF NEW YORK
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ROOM 6090
ROCHESTER, NY 14614

THE CONTINENTAL INSURANCE COMPANY
C/O TRESSLER LLP
233 S. WACKER DRIVE
61ST FLOOR
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THE CONTINENTAL INSURANCE COMPANY
C/O TRESSLER LLP
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THE CONTINENTAL INSURANCE COMPANY,
SUCCESSOR BY MERGER TO
COMMERCIAL INSURANCE COMPANY OF NEWARK, NEW JERSEY
AND (2) FIREMEN'S INSURANCE COMPANY OF NEWARK, NEW JERSEY
C/O BARCLAY DAMON LLP
ATTN: JEFFREY A. DOVE
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THE CONTINENTAL INSURANCE COMPANY,
SUCCESSOR BY MERGER TO COMMERCIAL INSURANCE COMPANY OF
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AND FIREMEN'S INSURANCE
COMPANY OF NEWARK, NEW JERSEY
C/O CROWELL & MORING LLP
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26TH FLOOR
SAN FRANCISCO, CA 94111

THE CONTINENTAL INSURANCE COMPANY,
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AND FIREMEN'S INSURANCE
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                               3
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THE CONTINENTAL INSURANCE COMPANY,
SUCCESSOR BY MERGER TO COMMERCIAL INSURANCE COMPANY OF
NEWARK, NEW JERSEY
AND FIREMEN'S INSURANCE
COMPANY OF NEWARK, NEW JERSEY
C/O DAVID CHRISTIAN ATTORNEYS LLC
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THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
C/O PACHULSKI STANG ZIEHL & JONES, LLP
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AND BRITTANY M. MICHAEL
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THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
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